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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                          Plaintiff,                    Case No. 1:22-cv-329-BLW

 v.

 THE STATE OF IDAHO,

                          Defendant.



                                       [PROPOSED] ORDER

        Upon consideration of the United States’ Motion for a Preliminary Injunction, and the parties’

respective submissions in support thereof and in opposition thereto, the Court hereby ORDERS that

the United States’ motion is GRANTED.

        It is FURTHER ORDERED that the State of Idaho, including all of its officers, employees,

and agents, are preliminarily enjoined from enforcing Idaho Code § 18-622(2)-(3) as applied to medical

care required by the Emergency Medical Treatment and Labor Act (EMTALA), 42 U.S.C. § 1395dd.

        It is FURTHER ORDERED that the State of Idaho, including all of its officers, employees,

and agents, are specifically prohibited from initiating any criminal prosecution against, attempting to

suspend or revoke the professional license of, or seeking to impose any other form of liability on, any

medical provider or hospital based on their performance of conduct that is defined as an “abortion”

under Idaho Code § 18-604(1), but that is necessary to avoid: (i) “placing the health of” a pregnant

patient “in serious jeopardy”; (ii) a “serious impairment to bodily functions” of the pregnant patient;

or (iii) a “serious dysfunction of any bodily organ or part” of the pregnant patient, pursuant to 42

U.S.C. § 1395dd(e)(1)(A)(i)-(iii).
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SO ORDERED.

//end of text//

                                                        Submitted by: Lisa Newman
                                                       Counsel for the United States




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